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              Plaintiff’s Exhibit 34

To Plaintiff’s Summary Judgment Memorandum
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                                                                                    PLAINTIFF'S
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                   Donald J. Trump
                   ©realDonatdlrump. Follow
                                                                            x
           Lever FBI Agent Peter Strzok was given poor marks on
           yesterday's closed door testimony and, according to most
           reports, refused to answer many questions. There was no
           Collusion and the Witch Hunt, headed by 13 Angry
           Democrats and others who are totally conflicted, is
           Rigged
           7:024M. Jun 28 2018                                              Q
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